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lN THE UNITED STATES DISTRICT COURT 054(/6~. \
FoR THE wESTERN DISTRICT oF TENNESSEE __  <"6` 40 O-o

EA sTERN DtvisloN “9"<".9
DENNIS cRoCKETT, q
ll
Plaintiff, §
ll

\/s. § No. 05-1152-T/An

ll
DANA sPAULDING, ET AL., g
ll
Defendants. §

 

ORDER DENYING MOTION TO ALTER OR AMEND

 

Plaintiff Dennis Crockett, an inmate at the Whiteville Correctional Facility in
Whiteville, Tennessee, filed apro se complaint pursuant to 42 U.S.C. § 1983 on June 3_,
2005. On August 12, 2005, the Court issued an order assessing the filing fee and dismissing
the complaint without prejudice under 42 U.S.C. § l997e(a) for failure to exhaust
administrative remedies The order also denied, as moot, plaintiff s motion for appointment
of counsel and his motion for a temporary restraining order and preliminary injunction
Judgment was entered on the docket on August 18, 2005. On August 25, 2005, the plaintiff
filed a motion to alter or amend the judgment, pursuant to Fed. R. Civ. P. 59(e).

Rule 59(e) is not intended to allow a party “to relitigate matters already decided by

the Court.” Windsor v. A Federal Executive Agency, 614L F. Supp. 1255, 1264 (M.D. Tenn.

 

1983), ajj‘"’d, 767 F.2d 923 (6th Cir. 1985). Rather, the purpose of the rule “is to allow a

district court to correct its own mistakes.” White v. New Hampshire Dept. of Emplovment

 

This document entered on the docket sheet in compliance
with Ru|e 58 and,’or,79 (a) FRCP on

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M, 455 U.S. 445, 450 (1982). A motion to alter or amend thejudgment may be granted
if there is a clear error of law, newly discovered evidence, an intervening change in the
controlling law, or to prevent manifest injustice Gencorp, Inc. v. American Int’l
Underwriters, 178 F.3d 804, 834 (6“‘ Cir. 1999) (citations omitted); M Wardle v.
Lexington-Favette Urban Countv Gov’t, 45 Fed. Appx. 505, 510 (Gth Cir. Sept. 5, 2002)',
Keenan v. Bagley, 262 F. Supp. 2d 826, 830 (N.D. Ohio 2003). The granting ofthe motion
is within the sound discretion of the district court McMahon v. Libbev-Owens-F ord Co..
870 F.2d 1073, 1078 (6"‘ Cir. 1989).

Plaintiff first contends that, contrary to the statement in the August 12 order, he did
in fact file an inmate trust fund account statement with his in forma pauperis affidavit He
requests that the judgment be amended to show that he did so. The Court acknowledges that
it erroneously stated that plaintiff did not file a trust fund account statement However, that
error was immaterial, as the filing fee was assessed regardless There is no need to formally
amend the judgment to correct such a minor error.

PlaintifF s primary argument is that the Court should not have denied his motion for
a temporary restraining order and preliminary injunction as moot due to the dismissal ofthe
action under § 1997e(a) for failure to exhaust He contends that the motion should have
been considered on its merits.

1r1 Morgan v. Tennessee Dept. of Corr., 92 Fed. Appx. 302 (6th Cir. Mar. 17, 2004),

the district court denied a prisoner’s motion for a preliminary injunction and dismissed the

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complaint for failure to exhaust administrative remedies, pursuant to § 1997e(a). On appeal,
the Sixth Circuit afi'irmed, holding that a prisoner Who fails to exhaust his administrative
remedies cannot show a likelihood of success on the merits, which is necessary in order for
a preliminary injunction to issue. § at 303 (citing Michigan State AFL-CIO v. Miller, 103
F.3d 1240, 1249 (6th Cir. 1997) (“While, as a general matter, none of these four factors are
given controlling wei ght, a preliminary injunction issued where there is simply no likelihood
of success on the merits must be reversed.”)).

fn this case, the Court denied the plaintiffs motion for injunctive relief as moot
instead of expressly stating that, due to his failure to exhaust his administrative remedies,
he could not show a likelihood of success on the merits. Nevertheless, the result is the same
and does not warrant alteration or amendment of the jud gm ent. Therefore, plaintiff” s motion
to alter or amend the judgment is DENIED.

The Court once again CERTIFIES, pursuant to 28 U.S.C. § 1915(a)(3), that any
appeal in this case would not be taken in good faith.

IT lS SO ORDERED.

WD.Q#M

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DATE "

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Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case l:05-CV-01 152 was distributed by fax, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Dennis Crockett

Whiteville Correctional Facility
35 1268

PO Box 679

Whiteville, TN 38075

Honorable .1 ames Todd
US DISTRICT COURT

